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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
                                      SAVANNAH DIVISION
TOMMIE KING-BEY,

       Plaintiff,

-vs-                                                   CASE NO.: 4:16-CV-00159-JRH-GRS

PROG LEASING, LLC, d/b/a PROGRESSIVE
LEASING,

       Defendant
                                         /

                                    NOTICE OF PENDING SETTLEMENT

         Plaintiffs, Tommie King-Bey, by and through the undersigned counsel, hereby notifies the Court

that the parties, Plaintiff, TOMMIE KING-BEY, and Defendant, PROG LEASING, LLC, d/b/a

PROGRESSIVE LEASING, have reached a settlement with regard to this case, and are presently

drafting, and finalizing the settlement agreement, and general release documents. Upon execution of the

same, the parties will file the appropriate dismissal documents with the Court.

                                     CERTIFICATE OF SERVICE

         I hereby certify that on December 29, 2016, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system and that a Notice will be sent to the following by the Court’s

Electronic Filing System: Daniel L Delnero, Esquire, Ballard Spahr LLP, 9999 Peachtree Street, Ste.

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                                                   /s/Octavio “Tav” Gomez, Esquire
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